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                                  UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UTAH                                 FILED
                                        CENTRAL DIVISION                                 •)lS Tr~!CT    cnur~T
                                                                                   2U20 JAN I 6 P ti:          12
          KEITH F. BELL, PH.D.,                            §
                                                           §                         DISTRICT OF UTAH
     Plaintiff/CounterclaimDefendant,                      §                       ,··'y': _ _ _ _ __
                                                           §                             -,- PUT Y Ct. ER t,
                         -v-                               §    Case No. 2:19-cv-00209
     GRANITE SCHOOL DISTRICT
                                                           §                              P00--
                                                           §
                                                           §
        Defendant/Counterclaimant.
                                                           §
                                                           §
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                          PRO SE APPEARANCE OF DR. KEITH BELL

        Plaintiff, Keith F. Bell Ph.D. ("Plaintiff'), submits notification of Pro Se
    representation and hereby notifies the court of current contact information by
    which to direct future correspondence and notifications regarding "Keith F. Bell,
    PhD. -v- Granite School District Case No. 2: 19-cv-00209.

        Please use the following contact information for me in any proceedings on
 this case:

          Dr. Keith Bell
          3101 Mistyglen Circle
          Austin, TX 78746
          512-327-2260
          drkeithbell@gmail.com




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                          CERTIFICATE OF SERVICE

        I hereby certify that on January 16, 2020, I served the foregoing
document on all counsel of records pursuant to the Federal Rules of
Civil Procedure.




       Dated: January 16, 2020

                                                 Respectfully submitted,

                                                 Isl Keith F. Bell
                                                 Plaintiff Pro Se
                                                 3101 Mistyglen Circle
                                                 Austin, TX 78746
                                                 Telephone: 512.327.2260
                                                 Email: drkeithbell@gmail.com

                                                 PROSE




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